      Case 4:19-cr-06049-SMJ     ECF No. 103    filed 04/17/20   PageID.420 Page 1 of 4




1                                                                             FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON


2                                                                    Apr 17, 2020
                                                                         SEAN F. MCAVOY, CLERK
3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                   No. 4:19-cr-06049-SMJ-01
5                                                    4:19-cr-06049-SMJ-02
                               Plaintiff,
6                                                ORDER RESETTING PRETRIAL
                  v.                             CONFERENCE, TRIAL, AND
7                                                RELATED CASE MANAGEMENT
     IVAN RENTERIA CASTILLO, (01)                DEADLINES
8    DUVIEL HUMBERTO SOLARES
     GASTELUM, (02)
9
                               Defendants.
10

11         Pursuant to Eastern District of Washington General Order No. 20-101-4, and

12   in light of the evolving public health crisis caused by the outbreak of the

13   Coronavirus Disease 2019 (COVID-19) and the recently-declared national

14   emergency, the Court finds the interests of justice require Defendant Castillo’s (01)

15   Motion to Dismiss Indictment hearing, currently set for May 13, 2020, be RESET

16   to June 17, 2020. In addition, the Court also finds the Pretrial Conference and

17   Defendant Castillo’s (01) Motion in Limine, currently set for May 13, 2020, be

18   RESET to July 2, 2020. The Court also finds the resulting delay requires the jury

19   trial, currently set to commence on June 15, 2020, be RESET to July 20, 2020.

20   Specifically, the Court finds failing to reschedule the Motion to Dismiss hearing




     ORDER RESETTING HEARING – 1
      Case 4:19-cr-06049-SMJ     ECF No. 103   filed 04/17/20   PageID.421 Page 2 of 4




1    poses an undue risk of transmission of the virus, including to Defendant, counsel,

2    Court staff, law enforcement personnel, and the public at large. Moreover, the

3    impact of public health advisories has reduced the availability of Court staff to

4    conduct the hearing as scheduled.

5          Accordingly, IT IS HEREBY ORDERED:

6          1.    Defendant Castillo’s (01) Motion to Dismiss Indictment, ECF No. 85,

7                currently set for May 13, 2020, is STRICKEN and RESET to

8                June 17, 2020 at 9:00 A.M. in Richland.

9          2.    The pretrial conference and Defendant Castillo’s (01) Motion in

10               Limine, ECF No. 86, currently set for May 13, 2020, is STRICKEN

11               and RESET to July 2, 2020 at 1:30 P.M. in Richland.

12         3.    The jury trial, currently set to commence on June 15, 2020, is

13               STRICKEN and RESET to July 20, 2020 at 9:00 A.M. in Richland.

14               The final pretrial conference will commence at 8:30 A.M. on the first

15               day of trial.

16         4.    The Court finds, given the outbreak of the COVID-19 virus, that

17               failing to reschedule the hearing would result in undue risk to

18               Defendant, counsel, law enforcement, Court staff, and the public at

19               large. The Court also finds the impact of public health advisories on

20               the availability of Court staff requires the hearing be rescheduled. The




     ORDER RESETTING HEARING – 2
      Case 4:19-cr-06049-SMJ     ECF No. 103     filed 04/17/20   PageID.422 Page 3 of 4




1                Court, therefore, finds the ends of justice served by resetting the

2                hearing in this matter outweigh the best interest of the public and

3                Defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

4         5.     Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court DECLARES

5                EXCLUDABLE from Speedy Trial Act calculations the period

6                from May 13, 2020 the date of the original hearing, through June 17,

7                2020, the date of the rescheduled hearing, as the period of delay

8                required by the interests of justice.

9         6.     In light of the delay associated with this Order, the remaining case

10               management dates and deadlines in this matter are amended as follows:

11                                                  Current              Revised
                                                  Date/Deadline        Date/Deadline
12   All pretrial motions, including discovery
     motions, Daubert motions, and motions        April 14, 2020           Passed
13   in limine, filed
     Defendant Castillo’s (01) Motion to           May 13, 2020         June 17, 2020
14   Dismiss Indictment, ECF No. 85                 9:00 AM –             9:00 AM –
                                                     Richland              Richland
15                                                 May 13, 2020          July 2, 2020
     PRETRIAL CONFERENCE
                                                    9:00 AM -             1:30 PM -
16   Deadline for motions to continue trial
                                                   RICHLAND             RICHLAND
     Defendant Castillo’s (01) Motion in           May 13, 2020          July 2, 2020
17
     Limine, ECF No. 86                             9:00 AM –             1:30 PM –
                                                     Richland              Richland
18
     CIs’ identities and willingness to be
19   interviewed disclosed to Defendant (if        May 15, 2020         July 6, 2020
     applicable)
20



     ORDER RESETTING HEARING – 3
      Case 4:19-cr-06049-SMJ    ECF No. 103     filed 04/17/20   PageID.423 Page 4 of 4




1    Grand jury transcripts produced to
     Defendant
2                   Case Agent:                   May 15, 2020          July 6, 2020
                    CIs:                          May 15, 2020          July 6, 2020
3                   Other Witnesses:              May 15, 2020          July 6, 2020
     Exhibit lists filed and emailed to the
4                                                 June 8, 2020         July 14, 2020
     Court
     Witness lists filed and emailed to the
5                                                 June 8, 2020         July 14, 2020
     Court
     Trial briefs, jury instructions, verdict
6    forms, and requested voir dire filed and     June 8, 2020         July 8, 2020
     emailed to the Court
7
     Exhibit binders delivered to all parties
                                                  June 8, 2020         July 10, 2020
     and to the Court
8
     Delivery of JERS-compatible digital
                                                  June 8, 2020         July 14, 2020
9    evidence files to the Courtroom Deputy
     Trial notices filed with the Court           June 8, 2020         July 10, 2020
10   Technology readiness meeting (in-
                                                  June 11, 2020        July 14, 2020
     person)
11
                                                  June 15, 2020        July 20, 2020
                  JURY TRIAL                       9:00 AM -            9:00 AM -
12
                                                  RICHLAND             RICHLAND
13

14         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

15   provide copies to all counsel, the U.S. Probation Office, and the U.S. Marshals

16   Service.

17         DATED this 17th day of April 2020.

18
                       __________________________
19                     SALVADOR MENDOZA, JR.
                       United States District Judge
20



     ORDER RESETTING HEARING – 4
